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  IT IS ORDERED as set forth below:



  Date: May 14, 2018
                                                    _____________________________________
                                                                James R. Sacca
                                                          U.S. Bankruptcy Court Judge

 _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                )                   CHAPTER 13
                                      )
JENNIFER FRANCES AMBROSE,             )
                                      )                   Case No. 16-51326-JRS
      Debtor(s).                      )
_____________________________________ )
                                      )
HOWARD AND SONS AUTOMOTIVE            )
SERVICES, INC. DBA HOWARD’S           )
WRECKER SERVICE,                      )
                                      )
      Plaintiff(s),                   )
                                      )
v.                                    )                   Adversary Proceeding
                                      )
JENNIFER FRANCES AMBROSE,             )                   Case No. 16-5228
                                      )
      Defendant(s).                   )
_____________________________________ )


                   ORDER AND NOTICE OF RESCHEDULED HEARING
                                TO SHOW CAUSE

         Plaintiff filed the above referenced adversary proceeding on September 19, 2016.
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Accordingly, it is
       ORDERED AND NOTICE IS HEREBY GIVEN that the Plaintiff shall appear on
June 5, 2018 at 10:45 a.m. in Courtroom 1404, 75 Ted Turner Drive, SW, Atlanta, GA to
show cause why this adversary proceeding should not be dismissed.
       The Clerk is directed to serve the Plaintiff(s), Plaintiff(s) Attorney, Chapter 13 Trustee,
the U.S. Trustee, Defendant(s), and Defendant(s) Attorney (if any).
                                        END OF ORDER
